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    Readouts                            Islamic Revolutionary Guard Corps-                                                                                    U.S. Treasury Issues General License to

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                                                                                                                                                              New Treasury Data Shows Over 80% of
                                              Treasury Designates Iranian Ministry and Minister of Petroleum, National Iranian Oil                            Emergency Rental Assistance Delivered to
                                                                  Company, and National Iranian Tanker Company                                                Lowest-Income Households

                                        Washington – Today, the U.S. Department of the Treasury’s Office of Foreign Assets Control
                                        (OFAC) is designating the Iranian Ministry of Petroleum, the National Iranian Oil Company
                                        (NIOC), and the National Iranian Tanker Company (NITC) pursuant to E.O. 13224, as
                                        amended, a counterterrorism authority, for their financial support to Iran’s Islamic
                                        Revolutionary Guard Corps-Qods Force (IRGC-QF), an entity designated under E.O. 13224.
                                        Senior NIOC and NITC personnel have worked closely with Rostam Ghasemi, a senior IRGC-
                                        QF official and former Minister of Petroleum who was designated in 2019, and who has
                                        assumed a portion of former IRGC-QF Commander Qasem Soleimani’s role in facilitating
                                        shipments of oil and petroleum products for the financial benefit of the IRGC-QF. OFAC is
                                        also designating multiple entities and individuals associated with the Ministry of
                                        Petroleum, NIOC, and NITC, including front companies, subsidiaries, and senior executives.
                                        In addition, OFAC is designating four persons involved in the recent sale of Iranian gasoline
                                        to the illegitimate Maduro regime in Venezuela.

                                        “The regime in Iran uses the petroleum sector to fund the destabilizing activities of the
                                        IRGC-QF,” said Secretary Steven T. Mnuchin. “The Iranian regime continues to prioritize its
                                        support for terrorist entities and its nuclear program over the needs of the Iranian people.”

                                        In spring 2019 alone, an IRGC-QF-led network employed more than a dozen NITC vessels to
                                        transport nearly 10 million barrels of crude oil, mostly destined for the Assad regime. Iran
                                        continues to perpetuate the Syrian conflict with these kinds of transactions. These
                                        shipments, taken collectively, sold for the equivalent of more than half a billion dollars.
                                        Today’s action targets those who supply and transport the oil that generates revenue for
                                        the IRGC-QF.

                                        NIOC, NITC, AND MINISTRY OF PETROLEUM
                                        NIOC, overseen by the Ministry of Petroleum, is responsible for the exploration,
                                        production, refining, and export of oil and petroleum products in Iran. NITC, a subsidiary of
                                        NIOC, is responsible for the transportation of Iranian crude exports. NIOC and NITC provide
                                        both the oil and tankers for the sale of Iranian oil by the IRGC-QF. The cooperation and
                                        coordination between the IRGC-QF and these entities extends well beyond the simple sale
                                        of oil, including coordination between NIOC and the Central Bank of Iran to facilitate the
                                        collection of tens of millions of dollars in proceeds from the sale of oil that benefitted the
                                        IRGC-QF.

                                        NITC has also played a significant role in oil deals used to generate revenue for the IRGC-QF
                                        and Hizballah. NITC personnel coordinated with the IRGC-QF on the loading of oil provided
                                        by NIOC, and NITC Managing Director Nasrollah Sardashti (Sardashti) worked with
                                        Hizballah on logistics and pricing for oil shipments to Syria. Sardashti also worked with
                                        Qatirji Group representative Viyan Zanganeh (Zanganeh) and a senior IRGC-QF official to
                                        facilitate the shipment of millions of dollars of oil by NITC. In 2018, OFAC designated Syrian
                                        regime-affiliated Qatirji Group for facilitating fuel trades between the Syrian regime and the
                                        Islamic State of Iraq and al Sham (ISIS), including providing oil products to ISIS-controlled
                                        territory. As of early 2020, the Qatirji Group’s Zanganeh continued to work closely with the
                                        IRGC-QF to coordinate NIOC’s provision of millions of barrels of oil and petroleum products
                                        to be shipped to Syria, as well as millions of dollars in payments back to Iran. In mid-2020,
                                        Zanganeh continued to act as an intermediary between the IRGC-QF and a Syrian regime-
                                        affiliated business, arranging for the funding of the release of a seized vessel and additional
                                        shipments of fuel oil.

                                        The Iranian Ministry of Petroleum has been used by individuals at the highest levels of the
                                        Iranian regime to facilitate the IRGC-QF’s revenue generation scheme. In mid-2019, the
                                        Ministry of Petroleum arranged the loading of hundreds of thousands of barrels of oil for
                                        shipments to Syria, and in mid-2020 the IRGC-QF and senior regime officials coordinated to
                                        use the Ministry of Petroleum to procure U.S. dollars for the benefit of the IRGC-QF.

                                        Furthermore, in order to obfuscate its involvement in shipping activity, NITC set up a front
                                        company in the United Arab Emirates (UAE), Atlas Ship Management. NITC officials also
                                        arranged to create a separate UAE-based front company, Atlantic Ship Management
                                        Company, ostensibly as an entity to replace Atlas Ship Management.

                                        NIOC, NITC, the Ministry of Petroleum, and Viyan Zanganeh are being designated
                                        pursuant to E.O. 13224, as amended, for having materially assisted, sponsored, or provided
                                        financial, material, or technological support for, or goods or services in support of, the
                                        IRGC-QF. The Ministry of Petroleum is also being designated pursuant to E.O. 13224, as
                                        amended, for owning or controlling, directly or indirectly, NIOC.

                                        Atlas Ship Management and Atlantic Ship Management Company are being designated
                                        pursuant to E.O. 13224, as amended, for being owned, controlled, or directed by, or having
                                        acted or purported to act for or on behalf of, directly or indirectly, NITC.

                                        KEY FACILITATORS AND ASSOCIATED ENTITIES
                                        Ali Akbar Purebrahim (Purebrahim), managing director of NIOC’s Switzerland-based
                                        subsidiary Naftiran Intertrade Company (NICO), has worked with the IRGC-QF on petroleum
                                        sales contracts, and worked with senior IRGC-QF official Ghasemi to arrange the shipment
                                        of oil, including pricing and payment for the shipment. Under Purebrahim’s leadership,
                                        NICO carried thousands of tons of liquified petroleum gas (LPG) belonging to NIOC as part
                                        of an arrangement to transport multiple shipments of LPG per month.

                                        Ali Akbar Purebrahim is being designated pursuant to E.O. 13224, as amended, for having
                                        materially assisted, sponsored, or provided financial, material, or technological support for,
                                        or goods or services in support of, Rostam Ghasemi.

                                        OFAC is also designating key subsidiaries of the Ministry of Petroleum. The National
                                        Iranian Oil Refining and Distribution Company (NIORDC), National Iranian Oil Products
                                        Distribution Company (NIOPDC), Iranian Oil Pipelines and Telecommunications
                                        Company, National Iranian Oil Engineering and Construction Company, Abadan Oil
                                        Refining Company, Imam Khomeini Shazand Oil Refining Company, and the National
                                        Petrochemical Company (NPC) are being designated pursuant to E.O. 13224, as amended,
                                        for being owned, controlled, or directed by, or having acted or purported to act for or on
                                        behalf of, directly or indirectly, the Ministry of Petroleum.

                                        OFAC is targeting several leaders or officials of the designated entities, all of whom are
                                        being designated pursuant to E.O. 13224, as amended, including: Minister of Petroleum
                                        Bijan Zanganeh, for being a leader or official of the Ministry of Petroleum; NIOC Managing
                                        Director Masoud Karbasian, for being a leader or official of NIOC; NITC Managing Director
                                        Nasrollah Sardashti, for being a leader or official of NITC; NIORDC Director Alireza
                                        Sadiqabadi, for being a leader or official of NIORDC; and NPC Managing Director Behzad
                                        Mohammadi, for being a leader or official of the NPC.

                                        OFAC is also identifying the vessels Longbow Lake and Wu Xian as property in which NIOC
                                        has an interest.

                                        GASOLINE SHIPMENTS TO VENEZUELA
                                        In January 2020, Mahmoud Madanipour (Madanipour) and UAE-based Mobin
                                        International Limited (Mobin) entered into an agreement with designated Venezuelan
                                        state-owned oil company Petroleos de Venezuela, S.A. (PdVSA) to ship gasoline obtained
                                        from NIOC to the illegitimate Maduro regime in Venezuela. Upon the request of NIOC’s
                                        subsidiary NIOPDC, Madanipour and Mobin chartered multiple vessels to support the
                                        transport of tens of thousands of metric tons of gasoline destined for Venezuela.

                                        Mobin International Limited is being designated pursuant to E.O. 13224, as amended, for
                                        having materially assisted, sponsored, or provided financial, material, or technological
                                        support for, or goods or services in support of, the NIOPDC. Mahmoud Madanipour is
                                        being designated for having acted or purposed to have acted for or on behalf of, directly or
                                        indirectly, Mobin International Limited.

                                        OFAC is also targeting two United Kingdom-based companies of Madanipour; Mobin
                                        Holding Limited and Oman Fuel Trading Ltd. Mobin Holding Limited and Oman Fuel
                                        Trading Ltd are being designated for being owned, controlled, or directed by, or having
                                        acted or purported to act for or on behalf of, directly or indirectly, Mahmoud Madanipour.

                                        SANCTIONS IMPLICATIONS
                                        All property and interests in property of these persons designated today subject to U.S.
                                        jurisdiction are blocked, and U.S persons are generally prohibited from engaging in
                                        transactions with them. Any entities that are owned, directly or indirectly, 50 percent or
                                        more by such persons are also blocked. In addition, foreign financial institutions that
                                        knowingly facilitate significant transactions for, or persons that provide material or certain
                                        other support to, the persons designated today risk exposure to sanctions that could sever
                                        their access to the U.S. financial system or block their property and interests in property
                                        under U.S. jurisdiction.

                                        Concurrent with today’s action, OFAC is issuing amended General License 8A, issued
                                        pursuant to the Global Terrorism Sanctions Regulations and the Iranian Transactions and
                                        Sanctions Regulations, to continue to allow certain humanitarian trade transactions
                                        involving NIOC or any entities in which it owns, directly or indirectly, a 50 percent or greater
                                        interest.

                                        View additional information on the individuals and entities designated and vessels
                                        identified today.




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Printing (BEP)                              Treasury Inspector General                  Center (ARC)- Bureau of the
                                                                                                                                 Budget and Performance                     OPM.gov
                                            for Tax Administration (TIGTA)              Fiscal Service
Bureau of the Fiscal Service
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